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         EXHIBIT 162
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                               HIGHLY CONFIDENTIAL

                                                                   Page 1

1                   IN THE UNITED STATES DISTRICT COURT
2                    FOR THE DISTRICT OF MASSACHUSETTS
3                                BOSTON DIVISION
4
5       ------------------------------------------X
6       STUDENTS FOR FAIR ADMISSIONS, INC.,
7                          Plaintiff,
8                                                 Civil Action No.
9                   vs.                           1:14-cv-14176-ADB
10
11      PRESIDENT AND FELLOWS OF HARVARD COLLEGE,
12      (HARVARD CORPORATION),
13                         Defendant.
14      ------------------------------------------X
15
16                        ** HIGHLY CONFIDENTIAL **
17
18                                Deposition of
19
20                                July 12, 2017
                                      9:10 a.m.
21
                                      Taken at:
22                                    Jones Day
                              901 Lakeside Avenue
23                               Cleveland, Ohio
24
25                            Wendy L. Klauss, RPR

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                                                                  Page 24

1                   Q.    And from the email, were you able
2        to glean a general understanding of what the
3        conference call was about, understanding that
4        you did not attend the actual call.
5                         MR. PARK:          Objection.     Asked and
6        answered.       You can answer it again.
7                   A.    Again, I didn't read the actual
8        content of the email in its entirety, because I
9        knew I wasn't going to be able to attend the
10       conference call.
11                  Q.    Other than these emails about this
12       conference call, have you received any other
13       communications from Mr. Blum?
14                        MR. PARK:          Objection.
15                  A.    Not that I can recall.
16                  Q.    Have you received any
17       communications from any other directors of
18       SFFA?
19                        MR. PARK:          I'm going to instruct
20       the witness not to answer that question on the
21       grounds that I stated before, and also now you
22       are asking about the communications with SFFA
23       members, which are also protected by the
24       associational privileges under the First
25       Amendment.

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                                                                  Page 25

1                   Q.    Are you going to follow your
2        counsel's instruction?
3                   A.    Yes.
4                   Q.    Do you know who other directors of
5        SFFA are?
6                         MR. PARK:          Objection.      Same
7        instruction not to answer.
8                         MS. MOONEY:           It is a yes-or-no
9        question whether or not he knows.                   You are
10       instructing him not to answer?
11                        MR. PARK:          Correct.
12                  Q.    Are you going to follow your
13       counsel's instructs?
14                  A.    Yes.
15                        MS. MOONEY:           Again note for the
16       record that we disagree with that instruction,
17       but we won't belabor the point.
18                  Q.    Other than                        , have you
19       ever met any other members of SFFA?
20                        MR. PARK:          Objection.      You can
21       answer.
22                  A.    No.
23                  Q.    Other than                        , without
24       giving me their identity, do you know any other
25       members of SFFA?

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                                                                 Page 149

1                            REPORTER'S CERTIFICATE
2          The State of Ohio,             )
3                                                       SS:
4          County of Cuyahoga.            )
5
6                          I, Wendy L. Klauss, a Notary Public
7          within and for the State of Ohio, duly
8          commissioned and qualified, do hereby certify
9          that the within named witness,                                   ,
10         was by me first duly sworn to testify the
11         truth, the whole truth and nothing but the
12         truth in the cause aforesaid; that the
13         testimony then given by the above-referenced
14         witness was by me reduced to stenotypy in the
15         presence of said witness; afterwards
16         transcribed, and that the foregoing is a true
17         and correct transcription of the testimony so
18         given by the above-referenced witness.
19                         I do further certify that this
20         deposition was taken at the time and place in
21         the foregoing caption specified and was
22         completed without adjournment.
23
24
25

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1                          I do further certify that I am not
2          a relative, counsel or attorney for either
3          party, or otherwise interested in the event of
4          this action.
5                          IN WITNESS WHEREOF, I have hereunto
6          set my hand and affixed my seal of office at
7          Cleveland, Ohio, on this 18th day of July, 2017.
8
9
10
11
12
13                          <%Signature%>
14                         Wendy L. Klauss, Notary Public
15                         within and for the State of Ohio
16
17         My commission expires July 13, 2019.
18
19
20
21
22
23
24
25

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